Case 2:03-cV-02147-.]DB-tmp Document 47 Filed 04/28/05 Page 1 of 2 Page|D 59

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE .
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JANICE P. WILLIAMS-COOKS
and ROBERT B. COOK, JR.,

Plaintiffs,
vs.

Civ. No. 03-2147~B[P

NORTHWEST AIRLINES, INC.,
et al.,

Defendants.

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ORDER GRANTING PLAINTIFFS’ MOTION TO CONTINUE FRCP
RULE 16(b) SCHEDULING CONFERENCE

 

Before the Court is Plaintiffs' Motion to Continue FRCP Rule
lG(b) Scheduling Conference, filed April 14, 2005, (Dkt #43). For
good cause Shown, the motion is GRANTED. The partiee are hereby
ordered to appear before Magistrate Judge Tu M. Pham, Courtroom #6,
Third Floor, on May 26, 2005 at 10:00 a.m. for a echeduling
conference.

IT IS SO ORDERED.

 

TU M. PHAM
United Statee Magietrate Judge

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Date

This document entered on the dccket§heet in compliance

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Honorable J. Breen
US DISTRICT COURT

